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10                       IN THE UNITED STATES DISTRICT COURT
11                            FOR THE DISTRICT OF ALASKA

12
      UNITED STATES OF AMERICA,                 )   No. CR11-022-RJB
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                                                )
14                        Plaintiff,            )   NOTICE OF ERRATA AND
                                                )   CORRECTION TO DEFENDANT’S
15                  v.                          )   RESENTENCING MEMORANDUM
16                                              )   AND EXHIBITS
      FRANCIS SCHAEFFER COX,                    )
17                                              )
                     Defendant.                 )
18   _______________________________            )
19   TO THE COURT AND ALL PARTIES TO THIS ACTION:
20          Federal Defender Michael Filipovic, counsel for Francis Schaeffer Cox, provides
21   this notice of errata and attaches a corrected version of Defendant’s Resentencing
22   Memorandum and Exhibits 1–41 for the following reasons:
23          On October 7, 2019, counsel for Mr. Cox filed Defendant’s Resentencing
24   Memorandum and Exhibits 1–40 (Dkts. 740–740-4). When the memorandum was
25   converted from Word to PDF, irregularities in the font spacing appeared. And when
26   counsel inserted a table of contents, the subsequent pagination changed so that it no
 1   longer matched the footer page numbers later applied by the Court. In addition, counsel
 2   mistakenly included extra pages into Exhibit 35 while neglecting to attach Exhibit 41
 3   (now provided). Lastly, a few minor misspellings, inconsistencies in wording, and cites
 4   to the exhibits have been addressed, but no new substantive arguments have been made
 5   nor old ones removed.
 6         For these reasons, counsel for Mr. Cox respectfully requests that the Court
 7   substitute Defendant’s Corrected Resentencing Memorandum and Exhibits 1–41 for the
 8   documents filed on October 7, 2019.
 9         DATED this 10th day of October 2019.
10                                            Respectfully submitted,
11                                            s/ Michael Filipovic
                                              Federal Public Defender
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                                              Attorney for Francis Schaeffer Cox
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 1                                 CERTIFICATE OF SERVICE
 2          I certify that on October 10, 2019, I electronically filed the foregoing document
 3   and attachments with the Clerk of the Court using the CM/ECF system, which will send
 4   notification of filing to all parties of record.
 5
                                                  s/ Suzie Strait
 6                                                Paralegal

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